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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                          :                            1/7/2019
UNITED STATES OF AMERICA,                                 :
                                                          :
                      -v-                                 :
                                                          :        18-CR-567 (VSB)
CHRISTOPHER COLLINS, et al.,                              :
                                                          :             ORDER
                                    Defendants.           :
                                                          :
--------------------------------------------------------- X



VERNON S. BRODERICK, United States District Judge:

        On December 18, 2018, I held a status conference in this matter. For the reasons stated

on the record at the December 18, 2018 conference, it is hereby:

        ORDERED that, on or before January 17, 2019, the parties shall submit a joint letter

detailing the status of the outstanding issues discussed on the record, including the status of the

document production of the Securities and Exchange Commission (“SEC”), and propose a

motion schedule, if needed, for a motion related to SEC documents;

        IT IS FURTHER ORDERED that, on or before February 8, 2019, Defendants shall file

their motion with regard to the discovery issues discussed on the record (related to the Speech or

Debate Clause, bill of particulars, Brady issues, Bruton issues, document discovery issues, etc.).

The Government shall file its opposition on or before March 8, 2019, and Defendants shall file a

reply on or before March 22, 2019.




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         IT IS FURTHER ORDERED that to the extent an evidentiary hearing is necessary on any

motion(s) the hearing will begin on September 5, 2019 at 10:30 a.m. and will continue if needed

on September 6 at 10:30 a.m.

SO ORDERED.

Dated:     January 7, 2019
           New York, New York

                                                                  _______________________
                                                                  Vernon S. Broderick
                                                                  United States District Judge




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